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         ORDERED in the Southern District of Florida on June 14, 2019.




                                                                   Robert A. Mark, Judge
                                                                   United States Bankruptcy Court
_____________________________________________________________________________




                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      Miami Dade Division


In re:                                                               Case No. 19-17314-RAM
                                                                     Chapter 13
BOBBY HOPKINS


      Debtor
____________________________/

             ORDER GRANTING DEBTORS’ EXPEDITED MOTION TO CONTINUE THE
                                 AUTOMATIC STAY


         THIS CASE having come before the Court on June 11th, 2019 at 09:00 AM on the Debtors’

Expedited Motion to Continue the Automatic Stay [DE #10] Pursuant to §362(c)(4)(B), this Court being

otherwise duly advised in the premises, it is thereupon:
                                                     1
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       ORDERED AND ADJUDGED that:

       1. The Debtors’ Motion to Continue the Automatic Stay [DE #10] is GRANTED, subject to the

conditions stated below.

       2. The Automatic Stay shall be in full force and effect against all creditors until further order of

this Court or upon any subsequent order granting relief from the automatic stay. The stay is also subject

to§362(c)(4)(C).



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Submitted by:

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Attorney Robert A. Stiberman is directed to serve copies of this order on all interested parties and file a
certificate of service.




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